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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

   VIDEOSHARE, LLC                  §
                                    §
                Plaintiff,          §
      v.                            §
                                    §    CIVIL ACTION No. 6:19-cv-00663-ADA
   GOOGLE LLC and YOUTUBE, LLC      §    JURY TRIAL DEMANDED
                                    §
                Defendants.         §


           DEFENDANTS’ OPENING CLAIM CONSTRUCTION BRIEF




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I.          INTRODUCTION

            Plaintiff VideoShare, LLC (“VideoShare”) alleges that Defendants Google LLC and

YouTube, LLC infringe claims 1 and 3-7 of U.S. Patent No. 10,362,341 (“the ’341 Patent”). The

parties dispute the construction of two claim terms:

       •    “the identified video content”

       •    “depending on a compatibility of the second server system or a compatibility of the second

            client with the first format or the second format”

Defendants propose constructions of these terms that are required by the intrinsic record. For “the

identified video content,” Defendants simply identify the correct antecedent basis for that term. And

for the “depending” term, Defendants’ construction comports with the language and logic of the

claims while VideoShare expands the scope of the claims terms well beyond their plain meaning in

an attempt to read out key limitations. Accordingly, the Court should adopt Defendants’ proposed

constructions.

II.         AGREED CLAIM CONSTRUCTIONS

            The parties agree on the construction of the following terms and accordingly request adoption

of these constructions by the Court:

                     Term                                              Agreed Construction
 “second server system”                                    “other servers used for video delivery”
 “first client”                                            “sharing device or user”
 “second client”                                           “viewing device or user”

III.        DISPUTED CLAIM CONSTRUCTIONS

            A.     “the identified video content” (claim 1)

              VideoShare’s Proposal                                     Defendants’ Proposal
 This term has its plain and ordinary meaning              “the video content corresponding to the first
 and need not be construed. In the alternative             video file and the second video file”
 only, this term may be construed as:
 “the video content identified for streaming”
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         VideoShare’s plain meaning and alternate construction leave unidentified the antecedent

basis for “the identified video content.” Defendants’ construction resolves that ambiguity by

identifying the correct antecedent basis for “the identified video content,” namely, “the video content

corresponding to the first video file and the second video file.”

         Defendants’ construction comes straight from claim 1. The term “the identified video

content” has no express antecedent basis in the claim language, as “identified video content” does

not otherwise appear in the claims. But “an antecedent basis can be present by implication.”

Energizer Holdings, Inc. v. Int’l Trade Comm’n, 435 F.3d 1366, 1371 (Fed. Cir. 2006). As shown

in this excerpt of claim 1, there is only one “video content” that precedes “identified video content”

in the claim—in the immediately preceding limitation—and it has been “identified” in the claims.

         the first server system generating an identifier for video content corresponding to
         the first video file and the second video file;

         the first server system receiving a request to stream the identified video content to
         a second server system or a second client via the structured hierarchical network;

         the first server system sending the stored first video file or the stored second video
         file corresponding to the identified video content to the second server system or
         the second client via the structured hierarchical network depending on a
         compatibility of the second server system or a compatibility of the second client
         with the first format or the second format; and

         the first server system sending an advertisement for display with the identified
         video content sent in the stored first video file or the stored second video file.

’341 Patent at claim 1 (emphasis added). 1 That “video content corresponding to the first video file

and the second video file” is therefore the only possible antecedent basis for “the identified video

content.” Defendants’ construction is also consistent with the specification, which explains that

video files are given identifiers, which are used to access the videos. See, e.g., ’341 Patent at 2:2-4



1
    All emphasis is added unless otherwise indicated.

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(“the video and associated advertisement can be accessed by any number of viewers after each

viewer has been provided with an identifier of the video”); 10:8-10 (“generat[ing] an identification

tag that the host computer 60 can use to locate the stored video segment for retrieval and for

viewing”).

       VideoShare’s proposed construction of “plain and ordinary meaning” is inadequate to

resolve the parties’ dispute, because it fails to identify the antecedent basis of “the identified video

content.” “Plaintiff’s ‘plain meaning’ construction does not help and does not address the lack of

antecedent issue.” Image Processing Techs., LLC v. Samsung Elecs. Co., No. 2:16-CV-505, 2017

WL 2672616, at *32 (E.D. Tex. June 21, 2017) (rejecting a plain meaning construction of “the

boundary”). Indeed, to the extent VideoShare argues that “the identified video content” has no

antecedent basis, the term would be indefinite for lack of antecedent basis. See id. (finding “the

boundary” indefinite for lack of antecedent basis); Halliburton Energy Serv., Inc. v. M-I LLC, 514

F.3d 1244, 1249 (Fed. Cir. 2008) (a claim is indefinite if it recites a “term [that] does not have

proper antecedent basis where such basis is not otherwise present by implication or the meaning

is not reasonably ascertainable”). VideoShare cannot escape the need to identify an antecedent

basis, and the only plausible basis is the “video content corresponding to the first video file and

the second video file.”

       VideoShare alternately argues that “the identified video content” is “the video content

identified for streaming,” a tautology that is not a construction at all and that fails to define the

antecedent basis of “the identified video content.” Instead, VideoShare’s proposed construction

eliminates the antecedent basis altogether, taking “the identified video content” and interpreting it

as simply “video content.” There is no basis for rewriting the claims in that manner. Only

Defendants’ construction comports with the claims as written.


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          B.     “depending on a compatibility of the second server system or a compatibility
                 of the second client with the first format or the second format”

                VideoShare’s Proposal                          Defendants’ Proposal
    “by selecting one of a first format or second  “after determining which of the first video file
    format based on the software, hardware, and/or or second video file is most compatible with
    network capability of the second server system the second server system or the second client”
    and/or the software, hardware, and/or network
    capability of the second client”

          There are three main disputes that arise from the parties’ competing constructions on the

“depending” term: (1) whether “compatibility” has plain meaning or should be redefined as

“capability,” (2) whether the first server system “determin[es]” which video file is “most

compatible” or merely “select[s]” a file, and (3) whether the first video file or second video file is

sent only after that determination/selection happens. 2 These disputes share a common theme—

while Defendants’ construction gives meaning to the claim language, VideoShare’s construction

effectively reads out claim limitations.

                 1.      “compatibility” requires no further construction

          VideoShare removes the term “compatibility” from its construction, replacing it with the

ambiguous and expansive phrase “based on the software, hardware, and/or network capability.”

VideoShare’s construction is far broader than the plain meaning of “compatibility,” because almost

any content over a network can be described as sent “based on the software, hardware, and/or

network capability” of a client. Anything the client does is, by definition, something that the client

is “capable” of doing, and the way the client does it must involve software, hardware, and the

network. Here are three examples that demonstrate VideoShare’s construction reads out the word

“compatible”:



2
 Defendants additionally note that VideoShare’s construction should refer to “the first format or
second format” to identify the correct antecedent basis in the claim.

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       •   If the client software is programmed to randomly download one of the two video files,

           then it is “capable” of downloading the chosen video file, even if the video file is not

           compatible with the client.

       •   If the client hardware has memory to store a file, then it is “capable” of storing that file,

           even if that video file is not compatible with the client.

       •   If the network connection is strong, then the network is “capable” of transferring the

           video file to the client, even if that video file is not compatible with the client.

There is simply no basis for changing “compatibility” to “capability.” The concept of video file

compatibility is not ambiguous or difficult to understand, and other courts have had no issue with

the plain meaning of the term “compatibility.” See, e.g., Dell USA L.P. v. Lucent Techs., Inc., 464

F. Supp. 2d 620, 630 (E.D. Tex. 2006) (construing “the compatibility comparison including

reading a characteristic of each option” as having its plain meaning). Accordingly, “compatibility”

needs no construction.

               2.        The claim language describes determining which video file is most
                         compatible, not merely a selection of a file

       Both VideoShare’s and Defendants’ constructions attempt to explain what it means to send

either the first or second video file “depending on a compatibility . . . of the second client.” But

only Defendants’ construction comports with the claims, by requiring that the first server system

determine which of multiple video files is most compatible and then send that file. VideoShare

skips over this determination step, and as a result, effectively reads out elements of the claim.

       The act of determining which of the first and second video files is “most compatible” is

central to the alleged invention. The specification expressly explains that the system determines

the most compatible file to send, explaining that “[w]hen the information is available to the host

computer 60, the host computer 60 can determine which file of the files exemplified by 634, 636

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and 638 is most appropriate to serve to the user or viewer.” ’341 Patent at 21:48-51. The

specification repeatedly describes this as serving the “optimal” file to the user. Thus, Figure 6E

describes “a method by which an optimally formatted video segment is sent to a user according to

the invention.” Id. at 5:29-31. This includes, for example, “discriminat[ing]” the “capabilities of

the [user’s] hardware,” thereby “allow[ing] each user to view a version of the video segment that

is optimally configured for the user’s hardware.” Id. at 20:18-22.

       Indeed, up until claim construction, VideoShare appeared to agree with Defendants’

proposed construction. VideoShare’s infringement contentions apply the same construction as

Defendants, explaining that “Google/YouTube evaluate which of the (3) first format and (8)

second format is (19) most compatible with the user requesting a video stream and send the first

or second video files over the (6) internet in response to this determination.” Ex. A at 20 (emphasis

in original). VideoShare’s Complaint likewise alleges that the “inventive concept” of the claims

involves “selecting the most appropriate file for transmission.” Dkt. 1 ¶ 38. Yet VideoShare’s

current construction retreats from its initial proposal and now omits the critical concept of

determining which of the two files is “most compatible.” The Court should reject that change.

       Moreover, VideoShare’s construction effectively reads out any comparison between the

first and second video files, because the language can be interpreted to only require considering

the compatibility of a single file. This can be seen by inserting VideoShare’s proposed claim

construction (shown below in red) into the claim limitation:

       the first server system sending the stored first video file or the stored second video
       file corresponding to the identified video content to the second server system or the
       second client via the structured hierarchical network by selecting one of a first
       format or second format based on the software, hardware, and/or network
       capability of the second server system and/or the software, hardware, and/or
       network capability of the second client

This substitution would allow the claim to read on a server system that simply disregards the

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second video file. Take, for example, a hypothetical server that sends a first video file whenever

the second client is capable of receiving files of the first file’s format, regardless of the second file

and its format, and does not send any file at all when the first format is incompatible, instead noting

that the second client is unsupported. Under VideoShare’s construction, this server meets the

claim limitations because that first video file was “select[ed]” “based on” some measure of

compatibility/capability. There is no basis in the claims or specification for construing this

limitation to allow one of the two files to be ignored. An interpretation that effectively ignores

one of the two video files would contradict the prosecution history. There, the Examiner explained

that the ’341 Patent recites having either of “the files [ ] streamed when requested,” rather than the

’302 Patent’s recitation of a single file “conver[ted] [ ] to a streaming format.” Ex. B, ’341

Prosecution History, April 4, 2019 Non-Final Rejection. Because the claim language recites more

than the idea of selecting and sending a single video over a computer network, the Court should

reject VideoShare’s construction.

                3.      The compatibility of a video file is determined before the video file is
                        sent

        Finally, Defendants’ construction states that the first or second video file is sent after

determining which video file is most compatible. VideoShare’s construction leaves the timing

ambiguous, thus potentially encompassing a situation where compatibility is determined after a

file is sent. Only Defendants’ construction comports with the claims and specification. The claim

recites sending a file “depending” on the compatibility, meaning that a determination happens

before any sending. The claim does not recite the converse—determining compatibility depending

on which file is sent. That interpretation would turn the plain language on its head.

        The specification confirms this obvious understanding. The host computer “can determine

which file . . . is most appropriate to serve to the user or viewer . . . then transmits the appropriate

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file to the user.” ’341 Patent at 21:48-57. For example, the specification describes files optimized

for different bandwidths, and determining the available bandwidth before sending the appropriate

file. Id. at 21:38-57. Unsurprisingly, the specification does not describe the opposite order—

sending a file, then deciding if the available bandwidth is appropriate for that file. The Court

should reject such a backward understanding. See, e.g., AIA Eng’g Ltd. v. Magotteaux Int’l S/A,

657 F.3d 1264, 1276 (Fed. Cir. 2011) (“We strive, where possible, to avoid nonsensical results in

construing claim language.”).

IV.    CONCLUSION

       For the foregoing reasons, the Court should adopt Defendants’ constructions for “the

identified video content” and “depending on a compatibility of the second server system or a

compatibility of the second client with the first format or the second format.”




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Dated: September 4, 2020              /s/ David S. Almeling

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                               CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on September 4, 2020, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.

                                                  /s/ J. Mark Mann
                                                 J. Mark Mann




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